
*866PERRY, Senior Justice,
concurring in part and dissenting in part.
I agree 'with the majority that the Hurst v. Florida, — U.S. —, 136 S.Ct. 616, 193 L.Ed.2d 604 (2016), error in this case is not harmless beyond a reasonable doubt. However, as I expressed in Hurst v. State, 202 So.3d 40, 76 (Fla. 2016) (Perry, J., concurring in part and dissenting in part), “[tjhere is no compelling reason for this Court not to apply the plain language of section 775.082(2), Florida Statutes.” I therefore dissent to the majority’s decision to remand for a new penalty phase and would instead remand for the imposition of a life sentence.
